          Case 1:19-cr-00198-EGS Document 1 Filed 06/07/19 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUⅣ IBIA

 UNITED STATES OF AⅣ IERICA                          Case No。

                                                     VIOLAT10N:
                                                     18 UoSoC。 §201(B」 bery)




                                                     FORFEITURE:
                                                     18 UoSoC。   §981(a)(1)(C);
                                                     28 UoSC.§ 2461(c);
                                                     and 21 UoS.C。 §853(p)




                                           INFORMATION

         The United States Attorney charges:

                                             COUNT ONE

         Between on or about February 1,2018, through on or about February 28,2019, in the

District of Columbia and elsewhere, the defendant, WALTER LEE, a public official, directly and

indirectly did corruptly demand, seek, receive, accept, and agree to receive and accept something

of value personally, in return for being influenced in the perforrnance of an official act, and induced

to do an act in violation of his official duty; that is, LEE, a police officer with the District of

Columbia Metropolitan Police Department, accepted in excess of $15,000.00 in payments from

Person   l,   in exchange for LEE providing that individual with information contained within Traffic

Crash Reports, in violation of MPD General Orders and District of Columbia law.

          (Bribery of a Public Official, in violation of 18 U.S.C. $$ 201(bX2)(A) and (C)).
        Case 1:19-cr-00198-EGS Document 1 Filed 06/07/19 Page 2 of 3




                                        FORFEITURE ALLEGATION

        l.     Upon conviction ofthe offense alleged in Count One, the defendant shall forfeit to

the United states any property, real or personal, which constitutes or is derived from proceeds

traceable to this offense, pursuant to Title 18, United States Code, Section       93l(a)(l)(C)   and Title

28, united States code, Section 2461(c). The united States will also seek a forfeiture money

judgment against the defendant equal to the value of any property, real or personal, which

constitutes or is derived from proceeds traceable to this offense.

       2.      lf   any   ofthe property described above as being subject to forfeiture,   as a result   of
any act or omission of the defendant:

               a.         cannot be located upon the exercise ofdue diligence;

               b.         has been transferred or sold to, or deposited with, a third party;


                          has been placed beyond thejurisdiction    ofthe Court;

               d          has been substantially diminished in value; or


                          has been commingted with other property that cannot be divided without


                          difficulty;
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        Case 1:19-cr-00198-EGS Document 1 Filed 06/07/19 Page 3 of 3




the defendant shall forfeit to the United States any other property   ofthe defendant, up to the value

ofthe property described above, pursuant to Title 21, United States Code, Section 853(p).

 (Criminal Forfeiture, pursuant to Title 18, United States Code, Section 981(a)(l)(C), Title 28,
     United Sates Code, Section 2461(c), and Title 21, United States Code, Section 853(p))


                                                      JESSIE K. LIU
                                                      united states Attomey
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